CM/ECF-GA Northern District Court                                   https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?140363328585184-...
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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                  1:22-cv-01073-MLB
                                                   Wade et al v. Wood
                                               Honorable Michael L. Brown

                                Minute Sheet for proceedings held In Open Court on 08/17/2022.


              TIME COURT COMMENCED: 11:05 A.M.
              TIME COURT CONCLUDED: 11:40 A.M.                    COURT REPORTER: Jana Colter
              TIME IN COURT: 00:35                                DEPUTY CLERK: Jessica Kelley
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)                Andrew Beal representing G. Taylor Wilson
         PRESENT:                   Andrew Beal representing Jonathan D. Grunberg
                                    Andrew Beal representing Nicole Jennings Wade
                                    R. Harrison representing L. Lin Wood
         PROCEEDING
                                    Discovery Hearing(Oral Argument Hearing);
         CATEGORY:
         MINUTE TEXT:               Hearing held on the parties' [26] Joint Preliminary Report and Discovery
                                    Plan. The Court assigned the case to a four-month discovery track.
                                    Discovery shall be completed on or before December 16, 2022. The
                                    Court's other rulings are as stated in the record.
         HEARING STATUS:            Hearing Concluded




1 of 1                                                                                                              8/17/2022, 1:10 PM
